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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                       SHERMAN DIVISION



  JUAN LOZADA-LEONI,                              §

          Plaintiff,                              §

  v.                                              § Civil Action No. 4:20-CV-00068-RWS-CMC

  MONEYGRAM INTERNATIONAL, INC., §

  and MONEYGRAM PAYMENT                           §

  SYSTEMS, INC.,                                  §

          Defendants.                              §


       PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S OBJECTIONS TO

                 PLAINTIFF’S APPLICATION TO APPEAR PRO HAC VICE



          It would be perfectly appropriate and just to allow Mr. Lozada to act as lead counsel on

  his own case. He is an experienced trial attorney with significant knowledge about the relevant

  facts of this case. Mr. Lozada did not find himself in this position by choice, he was placed in

  this position by the unexpected departure of Mr. Bob Webber, the only experienced trial attorney

  on his team. Mr. Kardell, the prior counsel for Mr. Lozada did not have the trial experience to

  properly manage this litigation and was removed by Mr. Lozada after it became clear Mr.

  Kardell did not have the experience and expertise in handling this type of litigation without the

  assistance of Mr. Webber.
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         In United States v. Kimmel, the United States Court of Appeals for the Ninth Circuit

  stated that “the district court has the authority to allow, if the accused desires, a hybrid form of

  representation in which the accused assumes some of the lawyer's functions as Kimmel did.”

  See, e.g., United States v. Halbert, 640 F.2d 1000, 1009 (9th Cir. 1981). United States v. Kimmel,

  672 F.2d 720 (9th Cir. 1982). In United States v. Halbert, the United States Court of Appeals for

  the Ninth Circuit again stated, “Whether to allow hybrid representation remains within the sound

  discretion of the trial judge. United States v. Daniels, 572 F.2d at 540; United States v. Wilson,

  556 F.2d 1177, 1178 (4th Cir.), cert. denied, 434 U.S. 986, 98 S.Ct. 614, 54 L.Ed.2d 481 (1977);

  United States v. Pinkey, 548 F.2d 305, 310 (10th Cir. 1977); United States v. Bennett, 539 F.2d

  45, 49 (10th Cir.), cert. denied, 429 U.S. 925, 97 S.Ct. 327, 50 L.Ed.2d 293 (1976). United States

  v. Halbert, 640 F.2d 1000, 1009 (9th Cir. 1981).

         This lawsuit began when Plaintiff Juan Lozada – Leoni (hereafter “Mr. Lozada”) filed a

  SOX whistleblower complaint. In this case, the trial judge should allow Mr. Lozada to represent

  himself and have the benefit of an attorney because Mr. Lozada knows the facts of the case better

  than any attorney he could possibly hire, and Mr. Lozada was forced to make a last minute

  change to his trial team after Bob Webber withdrew from the case unexpectedly. Despite Mr.

  Lozada’s best efforts, he has not been able to find a suitable replacement for Mr. Webber.

  Instead, Mr. Lozada has asked Mr. Garber, one of the associate attorneys at the Law Office of

  Juan Antonio Lozada, PLLC, Mr. Lozada’s own firm, to serve as associate counsel. Mr. Garber

  is a competent attorney but he is not an experienced trial attorney like Mr. Webber was. Mr.

  Kardell, the previous lead counsel in this case, has very little experience litigating complex cases

  in federal court and was not apt to properly manage the litigation of this case. At this time, Mr.

  Lozada is the best person to present the facts of this case to the jury during trial, he will continue
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  to look for a lead counsel but in order to prevent wasting valuable time and resources, he is

  willing to act in that role if he is unable to find a replacement to Mr. Webber who is willing to

  come into the case so late into the litigation.

          Admittedly, Mr. Lozada could proceed pro-se, however it would be unfair to force Mr.

  Lozada to only have the benefit of a single attorney while the defendant is able to use a team of

  attorneys from one of the largest law firms in the United States. Hybrid representation would

  allow Mr. Lozada to efficiently present the facts of this case while allowing Mr. Garber to assist

  him with the preparation and prosecution of the case. Rule 3.08 of the Texas Disciplinary Rules

  of Professional Conduct provides that a “lawyer shall not accept or continue employment as an

  advocate before a tribunal in a contemplated or pending adjudicatory proceeding if the lawyer

  knows or believes that the lawyer may be a witness necessary to establish as essential fact on

  behalf of the lawyer’s client, unless . . . the lawyer is a party to the action and is appearing pro

  se[.]” (https://www.legalethicstexas.com/Ethics-Resources/Rules/Texas-Disciplinary-Rules-of-

  Professional-Conduct/III--ADVOCATE/3-08-Lawyer-as-Witness). Rule 3.08 is saying that a

  lawyer can represent himself.

          Opponents of hybrid representation argue that hybrid representation will confuse the jury

  but that analysis should be made on a case by case basis and that would not be a risk in this case.

  The jury will have a chance to witness attorneys zealously arguing their respective positions in

  this case. Mr. Garber will provide significant assistance to Mr. Lozada during his testimony by

  asking questions on direct examination and ensuring that the jury understands that Mr. Lozada is

  appearing as a witness at that portion of the trial. Denying Mr. Lozada the opportunity to assist in

  the prosecution of his own case would not be equitable under the circumstances. The goal of the

  trial is to establish whether or not the Defendants violated 18 U.S. Code § 1514A. Allowing Mr.
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  Lozada to take depositions, carry out discovery and ask cross examination questions at trial will

  benefit the jury because he is an experienced trial attorney with significant knowledge of the

  relevant facts in this case and at this late stage, it would be difficult to find a replacement for Mr.

  Webber.



                                            CONCLUSION

         For the above reasons, Plaintiff respectfully urges the Court to allow Mr. Lozada to

  appear pro hac vice in this matter.



                                         Respectfully submitted,

                            The Law Office of Juan Antonio Lozada, PLLC

                                        By: /s/ Theodore Garber


                                            Theodore Garber


                                  Texas State Bar Number: 24107171


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                                 CERTIFICATE OF CONFERENCE

         On March 20, 2020, Mr. Garber conferred by telephone with Mr. Barcus, one of counsel

  for the Defendants, in the manner required under Local Rule 7(h) regarding the relief requested

  herein. After a good faith discussion, no agreement could be reached, and Mr. Barcus informed

  me that Defendants are opposed to the relief requested herein.


                                          /s/ Theodore Garber

                                           Theodore Garber



                                    CERTIFICATE OF SERVICE

  The foregoing instrument was filed using the Court’s CM/ECF system on April 6, 2020, which

  will transmit a copy to all counsel of record.


                                          /s/ Theodore Garber

                                           Theodore Garber
